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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

THE PEOPLE OF THE STATE OF NEW
YORK, by LETITIA JAMES, Attorney
General of the State of New York,
                                  Plaintiff,
                                               24 Civ. 0659 (JPO)
                 —against—

CITIBANK, N.A.,

                                 Defendant.



                     CITIBANK, N.A.’S MEMORANDUM OF LAW
                     IN SUPPORT OF ITS MOTION TO DISMISS




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 April 2, 2024
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                                       INTRODUCTION

       This case is a misguided attempt by the New York Attorney General’s Office (“NYAG”)

to circumvent Congress and rewrite the federal Electronic Fund Transfer Act of 1978 (the

“EFTA”) to provide consumer relief that NYAG apparently wishes had been included by

Congress, but quite plainly was not. Over the decades since the EFTA became law, no one has

suggested that the EFTA means what NYAG is now claiming. The proper forum for pursuing the

goals NYAG seeks to achieve in this litigation is in Congress, not a courtroom.

       The backdrop for this case is the problem of online wire fraud. There is no denying that

the problem is real. Scammers have found increasingly sophisticated ways to fraudulently wire

themselves money from consumers’ bank accounts. Defendant Citibank, N.A. (“Citibank”) takes

this problem seriously, and has implemented robust countermeasures. But no system will catch

every scam every time. That is especially true in the circumstances alleged here, where NYAG

describes consumers who fell for “phishing” scams or otherwise provided security information,

such as codes texted from Citibank, directly to scammers.

       The core issue raised by this case is the scope of Citibank’s responsibility to reimburse

consumers who fall victim to wire fraud scams. The answer lies in Article 4A of the Uniform

Commercial Code (“UCC”), which governs wire transfers. Generally speaking, a bank that

follows a commercially reasonable “security procedure” in good faith to verify a customer’s

identity will not be responsible for the customer’s loss. The banking industry and courts have for

decades applied Article 4A to wires, including consumer wires, and the industry has developed

systems and procedures based on Article 4A’s terms.

        NYAG’s Complaint is premised on the novel theory that Citibank and the rest of the

industry have been applying the wrong legal framework all this time. According to NYAG,

consumer wires should be governed by the separate legal framework of the EFTA, which
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governs electronically-initiated fund transfers by consumers, such as ATM transactions. Under

the EFTA, a consumer’s exposure for fraudulent fund transfers (e.g., a stolen ATM card) is

typically capped at $50. Just as banks have organized their wire businesses around Article 4A,

banks have developed systems and procedures for EFTA-governed transactions based on a

settled understanding of where the EFTA applies and where it does not. That is why, for

example, there are typically daily withdrawal limits at ATMs.

       The two legal frameworks—the EFTA and Article 4A—are intended to be mutually

exclusive, reflecting careful judgment by Congress and state legislatures that the wire systems,

which typically involve large-dollar business transfers, should be governed by rules that promote

efficiency and finality, while still providing important protections to users. The careful

delineation of these two legal regimes is reflected in the EFTA’s express exclusion of wire

transfers from its coverage; in contrast, wire transfers are the principal focus of Article 4A.

Decades of regulatory enactments and guidance further confirm that wire transfers, including

consumer wire transfers like those at issue here, are governed by Article 4A and not the EFTA.

       Attempting to overcome the plain language of the EFTA’s wire exemption, NYAG

proposes to artificially separate the interdependent steps in a wire transfer so that only one part

(the “bank-to-bank” transmission) is considered the EFTA-exempted wire, while another (the

sending bank debiting its customer) is a freestanding, non-wire transaction governed by the

EFTA. This imaginative theory is fundamentally flawed because the wire exemption refers

specifically to wires initiated by “consumers” and so cannot be limited, as NYAG theorizes, to

the “bank-to-bank” component. NYAG’s approach deletes the “consumer” from the statutory

text. NYAG’s reading has the related problem of rendering the wire exemption meaningless. If a

wire transfer is narrowly conceived as only a transmittal between banks, there would be no




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reason for Congress to have exempted those transactions from the EFTA, which as enacted by

Congress only reaches consumer transactions.

       NYAG’s theory not only mangles the EFTA’s text, but defies longstanding, settled

understandings of the EFTA in the banking industry. Over the decades, there is every

indication—from regulators, academics and even consumer advocates—that the EFTA applies as

the industry has understood it, and zero evidence of NYAG’s interpretation. In fact, this

widespread understanding is why Congress recently considered a bill titled “Protecting

Consumers From Payment Scams Act,” which would delete the wire exemption. The bill failed

to pass. The Court should approach with great skepticism NYAG’s novel interpretation, one

which has somehow managed to elude lawmakers, regulators, courts and the industry for so long,

and which would bring about—via litigation, not legislation—a sea change in banking law.

       NYAG’s Complaint asserts eight causes of action, in each instance invoking New York’s

prohibition in the Executive Law against “engag[ing] in repeated fraudulent or illegal acts.” N.Y.

Exec. L. § 63(12). All eight fail to allege illegality or fraud, and should be dismissed, as

demonstrated below.

       EFTA: Reimbursement (First Cause of Action). NYAG alleges that Citibank fails to

apply the EFTA for fraudulent consumer wires, but, as discussed, the EFTA exempts wires

altogether and is inapplicable.

       EFTA: Transfers Between Customer’s Accounts (Second Cause of Action). NYAG

argues that Citibank should be held liable for unauthorized transfers between a single customer’s

own accounts (such as from savings to checking), but in those instances the transfer does not

meet the statutory definition of an “unauthorized” transfer and, regardless, there is no loss for

NYAG to recover.




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       EFTA: Disclosures and “Illegal” Agreements (Third Cause of Action). NYAG argues

that banks are required to disclose in “clear terms” the specific security procedures employed to

combat fraud, notwithstanding that the EFTA nowhere calls for banks to provide a roadmap for

scammers in this way (nor should it). NYAG also alleges that Citibank’s customer agreements

violate the EFTA’s provision against contractual waivers of its terms, but NYAG misconstrues

the EFTA’s requirements and Citibank’s agreements.

       UCC Article 4A (Fourth Cause of Action). NYAG alleges, in the alternative, that

Citibank does not employ commercially reasonable security procedures under Article 4A, but

fails to set forth sufficient facts to state a claim. Although the Complaint recounts how ten

Citibank consumers were allegedly victimized by scammers, NYAG fails to plead critical facts

concerning the procedures Citibank employed to verify those wires, creating the false impression

that these instances where sophisticated scammers happened to succeed reflect the norm. They

do not. NYAG’s inadequately-pleaded claim must be dismissed.

       SHIELD Act (Fifth Cause of Action). The Complaint likewise fails to state a claim that

Citibank violated New York’s “SHIELD Act”—an anti-hacking statute obligating covered

businesses to adopt procedures to prevent, and give notice of, data breaches. This case is not

about anyone hacking into Citibank’s systems. To the contrary, as the Complaint concedes, the

scammers obtained customers’ data either by tricking them or, in one instance, from another

company’s data breach. To the extent NYAG misreads the statute to sweep in the wire fraud

scenarios alleged, the claim is preempted by the Fair Credit Reporting Act (“FCRA”).

       Red Flags Rule (Sixth Cause of Action). Citibank’s alleged violation of the federal

identity theft prevention regulation known as the “Red Flags Rule,” adopted under the FCRA,

similarly should be dismissed because NYAG’s attempt to enforce the rule is preempted by the




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FCRA. Even if not preempted, the claim is meritless. The Red Flags Rule requires banks to

implement programs “designed to detect, prevent, and mitigate identity theft,” but NYAG does

not allege (nor could it credibly allege) that Citibank lacks the required programs.

       Fraud and Consumer Deception (Seventh and Eight Causes of Action). NYAG’s

accusations of fraud and deception are premised on generic advertising statements, such as “your

security is important to us,” and the allegation that Citibank’s procedures for handling fraud

complaints are different from what NYAG would prefer. None of these statements or procedures

amount to actionable fraud or deception.

                                               ***

       Citibank devotes substantial resources to combatting online fraud and to protecting its

customers, and will continue to do so. Citibank’s significant anti-fraud practices have stopped

countless fraudulent transactions and protect consumers from scammers every day. The solution

to the problem of online wire fraud and scams is not a lawsuit, especially one that improperly

seeks to rewrite a federal statute and that would abruptly and dramatically upset how banks have

organized their policies and practices for decades.

       The Complaint should be dismissed in its entirety.

                                        BACKGROUND

       A.      The Statutory Framework for Consumer Wire Transfers

               1.      The EFTA and Its Wire Exemption

       In November 1978, Congress passed the EFTA. Pub. L. 95-630 § 2001 (1978). The law

was intended to address certain “relatively new banking and payment services” that used

“computer and electronic technology” instead of paper, such as ATMs and electronic terminals

that allowed consumers to pay for goods at a store. S. Rep. No. 95-915, at 2-3 (1978). The bill

followed the “key recommendation” of a Congressionally-commissioned report from the


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National Commission on Electronic Fund Transfers (“NCEFT”), see Pub. L. 93-495 §§ 201-08

(1974), to establish an “EFT Bill of Rights” for consumers using those new services. S. Rep. No.

95-915, at 3 (citing NCEFT, EFT in the United States, Policy Recommendation and the Public

Interest (Oct. 28, 1977) (“NCEFT Report”)) (Ex. A). 1 Congress sought to grant consumers

statutory rights governing unauthorized or errant transactions, and to mandate certain disclosures

about account terms and transactions. S. Rep. No. 95-915, at 3-8.

           As enacted, the EFTA applies to any “electronic fund transfer,” which is defined as a

transfer of funds “initiated through an electronic terminal, telephonic instrument, or computer or

magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an

account,” subject to specified exemptions. 15 U.S.C. § 1693a(7). The term “account” is defined,

in turn, as one “established primarily for personal, family, or household purposes.” Id.

§ 1693a(2). Among other things, the EFTA provides that consumers who promptly give notice of

an unauthorized transfer are generally responsible only for the first $50 of losses. Id. § 1693g(a).

           Most relevant here, the EFTA has since its passage expressly excluded from its coverage

any transfer “on behalf of a consumer by means of a service that transfers funds held at either

Federal Reserve banks or other depository institutions and which is not designed primarily to

transfer funds on behalf of a consumer.” Pub. L. 95-630 § 2001 (1978) (codified at 15 U.S.C.

§1693a(7)(B)). Although the “service[s]” are not identified by name, Congress was referring to

wire services like Fedwire (operated by the Federal Reserve) and CHIPS (operated by private

banks). Regulations and guidance have since made that clear. 2



1
  Citations in the form Ex. __ refer to the exhibits to the accompanying Declaration of Charles Michael. The NCEFT
report and other legislative history materials are properly the subject of judicial notice and may be considered on a
motion to dismiss. Goe v. Zucker, 43 F.4th 19, 29 (2d Cir. 2022) (holding that “courts may take judicial notice of
legislative history” and other administrative materials, and doing so in connection with a motion to dismiss).
2
    See 12 C.F.R. § 1005.3(c)(3); Electronic Fund Transfers, 61 Fed. Reg. 19,662, at 19,663 (May 2, 1996).



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                  2.       Congress Chose Not to Include Wires in the EFTA’s Scope

         The legislative history of the wire exemption confirms that Congress made a deliberate

choice. The NCEFT Report that laid the foundation for the law focused its recommendations on

the “new” electronic transfer systems, such as ATMs and payment terminals. NCEFT Report, at

1-2. Although the report acknowledged the two major wire systems that still dominate the U.S.

Dollar domestic market today—Fedwire and CHIPS—and noted that Fedwire had been in

operation since 1918, id. at 338-39, the Report made no recommendations for any regulation of

those systems. That omission is all the more notable because the Report observed that there were

instances where consumers could use Fedwire: “consumers may send funds on the Federal

Reserve wire network by using the facilities of a member bank.” Id. at 338.

         Even beyond the NCEFT Report, the existence of consumer wires—and the possibility of

including them in the new law—was squarely before Congress. On at least three occasions,

hearing witnesses urged Congress to apply the new law to consumer wires:

         •        A Harvard professor told the Senate Banking Committee that there should be a
                  “consistent set of principles applicable” to all payment systems, including wire
                  transfers, and asked why the bill should “leave entirely uncovered . . . bankwire”
                  transactions. See Consumer Protection Aspects of EFT Systems, Hearings on
                  S. 3546, S. 2470, 95th Cong. 75-76, 79, 82 (1978). (Ex. B.) 3

         •        The President of a payment system called TYME (Take Your Money
                  Everywhere), similarly urged Congress to ensure the bill would “encompass all
                  facets” of electronic payment systems, including “automated bill paying services,
                  wire transfer services, etc.,” because, in his view, the rights of consumers should
                  be the same regardless of which of those means the consumer chooses, or even if
                  the consumer uses “some as yet uninvented means.” See The Consumer Credit
                  Protection Act Amendments of 1977, Hearings on H.R. 8753, Part 3, 95th Cong.
                  1404, 1406 (1977) (emphasis added). (Ex. C.)

         •        The President of the Virginia Citizens Consumer Council, a “grass roots
                  consumer organization” that served as a “nationwide clearing house for consumer
                  comment and problems with electronic funds transfer,” testified to the House
3
  Congressional hearing materials are “public records,” which “courts in this District have found to be subject to
judicial notice.” In re Moody’s Corp. Sec. Litig., 599 F. Supp. 2d 493, 504 (S.D.N.Y. 2009).



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               Banking Committee about an “attempt to steal $2 million dollars via a bogus
               wire,” and warned that, since similar scams could impact a “large number of
               consumer accounts,” Congress should apply to wires the same protections
               contemplated for “lost or stolen [debit] cards.” See The Consumer Credit
               Protection Act Amendments of 1977, Hearings on H.R. 8753, Part 1, 95th Cong.
               58, 62 (1977). (Ex. D.)

       Yet, Congress did not take that approach. Congress chose not to regulate wire transfers—

even though they “might otherwise be considered electronic fund transfers”—because they were

not among the new technologies that “motivated passage” of the new law, and because wire

transfers were “already governed by rules established by the Federal Reserve.” Roland E.

Brandel & Eustace A. Olliff III, The Electronic Fund Transfer Act: A Primer, 40 Ohio St. L. J.

531, 543-44 (1979). The Senate Report confirms that the EFTA was focused upon the “relatively

new” consumer services that were “initiated and carried out primarily by electronic means,” such

as (1) ATMs and (2) “point-of-sale systems,” where consumers could pay for goods at in-store

terminals. S. Rep. No. 95-915, at 2-3 (1978). In short, Congress determined that wire transfers—

whose technology and rules had been in place for decades—should be left undisturbed.

               3.     Regulation E and Subsequent Guidance Relating to the Consumer
                      Wire Exemption

       In 1979, the Board of Governors of the Federal Reserve System adopted “Regulation E”

to implement the EFTA. See Electronic Fund Transfers, 44 Fed. Reg. 18,468 (Mar. 28, 1979);

Electronic Fund Transfers, 44 Fed. Reg. 59,464 (Oct. 15, 1979). Regulation E’s consumer wire

transfer exemption largely tracked the statutory language, carving out “[a]ny wire transfer of

funds for a consumer through . . . [a] network that is used primarily for transfers between

financial institutions or between businesses.” 44 Fed. Reg. 18,468, at 18,481 (emphasis added).

As with the statutory language, the reference to a transfer “for a consumer” plainly contemplated

(1) that consumers would be initiating wires and (2) that their wires would fall outside the EFTA.




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       Two years later, in 1981, the Federal Reserve issued Official Guidance as to

Regulation E. Confirming that consumer wire transfers are viewed as including the sending or

receiving consumer—not just the intermediate bank-to-bank component—the Guidance

described the wire exemption as being triggered for a wire transfer with “instructions for

crediting individual consumers’ accounts”:

               3-2 Q: Wire transfer-instructions on magnetic tape. If a transfer of funds to a
               financial institution is sent by Fedwire or a similar network, and the
               instructions for crediting individual consumers’ accounts are transmitted on
               magnetic tape, are the transfers exempt?

               A: Yes. A Fedwire or similar transfer of funds is exempt.

Electronic Fund Transfers, 46 Fed. Reg. 46,876, at 46,879 (Sept. 23, 1981) (Question 3-2).

               4.      UCC Article 4A

       In 1989, nine years after the EFTA’s enactment, the National Conference of

Commissioners on Uniform State Laws and the American Law Institute approved a new Article

4A of the Uniform Commercial Code. Its stated purpose was to provide a “comprehensive body

of law that defines the rights and obligations that arise from wire transfers.” See Uniform Laws

Annotated, U.C.C. Article 4A, Prefatory Note (1989). UCC Article 4A broadly covers any

transaction via a “payment order” to pay a beneficiary; in practice, this means payments

“commonly referred to as wire transfers.” N.Y. U.C.C. § 4-A-104(1) & Official Comment 6.

       Generally speaking, wire transfers involve the exchange of payment messages among

banks that settle with one another either periodically (e.g., at the end of the day) or in real time,

and that settle their internal balances with their customers (the payor and payee) by crediting and

debiting their accounts. 1 Benjamin Geva, The Law of Electronic Funds Transfers § 1.03 (2023).

       The real-world nature and usage of wires “influenced the drafting of the statute,”

including that wires typically “involve[] a large amount of money,” and are intended to be



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completed in a single day, at low cost. See Uniform Laws Annotated, U.C.C. Article 4A,

Prefatory Note (1989). Even when Article 4A was published in 1989, more than “one trillion

dollars per day” passed through the wire systems. Id. The drafters of Article 4A understood that

if these essential features of speed, efficiency and volume were to be preserved, banks could not

be “exposed to very large liabilities in connection” with each wire. Id.

        New York adopted Article 4A in 1990. See 1990 N.Y. Sess. Law Serv. 208. The New

York Court of Appeals echoed the authors’ commentary in noting that Article 4A’s key goals

were to ensure the “speed, efficiency, certainty . . . [and] finality” of wire transactions. Banque

Worms v. BankAmerica Int’l, 570 N.E.2d 189, 195 (N.Y. 1991).

        Transactions covered by the EFTA are expressly exempted from Article 4A because the

drafters intended “to make Article 4A and EFTA mutually exclusive.” N.Y. U.C.C. § 4-A-108 &

Official Comment. Accordingly, shortly after Article 4A was published, industry experts

acknowledged that consumer wire transactions—by virtue of the EFTA’s wire transfer

exemption—would be governed by the new Article 4A. 4

        The Federal Reserve saw this clear statutory interplay the same way. After Article 4A

was released, the Federal Reserve overhauled the regulation governing Fedwire, Regulation J, to


4
  See, e.g., Carl Felsenfeld, Strange Bedfellows for Electronic Funds Transfers: Proposed Article 4A of the Uniform
Commercial Code and the UNCITRAL Model Law, 42 Ala. L. Rev. 723, 736 (1991) (explaining that if “Mary in
New York orders her bank to take $100 from her personal account and wire it to John in San Francisco,” and if the
transaction were effectuated by wire, “it would be excluded from EFTA and thereby made subject to 4A”); Donald
J. Rapson, Outline of Highlights Article 4A – Funds Transfers, C664 ALI-ABA 21, at *23 (Sept. 12, 1991) (Article
4A covers “all transactions, including consumer, using Fedwire, CHIPS and SWIFT”); Thomas C. Baxter, Jr. & Raj
Bhala, The Interrelationship of Article 4A With Other Law, 45 Bus. Law. 1485, 1492 (1990) (“The analysis of a
FedWire or CHIPS transaction is much easier. The presence of a consumer in funds transfers effected over these
systems has no effect on the applicability of Article 4A because transfers over these systems are not ‘electronic
funds transfers’ for purposes of the EFT Act. Consequently, all FedWire and CHIPS transfers are covered by Article
4A.”); Tomme Jeanne Fent, Commercial Law: Electronic Funds Transfers: How New U.C.C. Article 4A May Affect
Consumers, 43 Okla. L. Rev. 339, 342 (1990) (“[C]onsumers who make wire transfers that are exempt from the
EFTA may be subject to article 4A’s commercial rules.”); New Jersey Law Revision Commission, Report and
Recommendation Concerning Uniform Commercial Code Article 4A, at 6 (Oct. 1990) (“Since, for practical
purposes, any funds transfer that involves more than one bank is executed through a wire transfer system, any
consumer transaction that is not executed within one bank is likely to be governed by Article 4A.”) (Ex. E).



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apply Article 4A to all Fedwire transactions, even in states that had yet to adopt it. See Funds

Transfers Through Fedwire, 55 Fed. Reg. 40,791, at 40,792 (Oct. 5, 1990). As with Article 4A,

the revised Regulation J was intended to be mutually exclusive with the EFTA. Id. at 40,804.

Accordingly, the Federal Reserve noted in its adopting release that Regulation J and Article 4A

would govern a wire where the “originator’s or beneficiary’s account [was] a consumer account”

because the EFTA and Regulation E “do not apply to funds transfers through Fedwire.” Id.

       Most relevant to this case, Article 4A addresses unauthorized transactions differently than

the EFTA’s near strict-liability regime. Generally, under Article 4A, banks are not responsible

for unauthorized wire transfers if they follow commercially reasonable security procedures in

determining whether the wires are authorized. N.Y. U.C.C. §§ 4-A-202(2), 4-A-204(1).

               5.      Congressional Efforts to Close the Consumer Wire Exemption

       Wire services have become more commonly used by consumers (e.g., via smart phone

apps) in recent years, leading to (unsuccessful) efforts before Congress to eliminate the EFTA’s

recognized consumer wire transfer exemption so that consumer wires would shift from the

Article 4A framework to the EFTA. To date, however, Congress has not done so.

       In April 2022, the House Financial Services Committee considered a bill entitled

“Protecting Consumers From Payment Scams Act,” which was intended to “eliminate EFTA’s

exemption for bank wire transfers.” See H.R. Rep. No. 117-701, at 158 (2023); Protecting

Consumers From Payment Scams Act § 2, 117th Cong., 2d Sess. (Ex. F). Notably, the National

Consumer Law Center, a prominent consumer advocacy group, supported the amendment,

acknowledging that “wire transfers are exempt from the EFTA.” See Hybrid Hearing before the

Task Force on Financial Technology of the Committee on Financial Services, 117th Cong. 82

(2022) (Ex. G). Earlier this year, the Senate Banking Committee held similar hearings and again

consumer advocacy groups pressed Congress to close the so-called “wire transfer loophole.” (Ex.


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H; Ex. I, at 22.) No one suggested at either hearing that the EFTA already placed consumer wires

within its protections, as NYAG urges here.

         It thus remains well understood that, unless and until Congress acts, the EFTA’s coverage

does not encompass consumer wire transfers. Indeed, in 2023, the Chicago Sun-Times published

a lengthy feature on what it termed the “wire transfer loophole,” noting that “[v]ictims and

consumer advocates want to close the wire transfer loophole” in the EFTA. (Ex. J, at 12.) 5

         B.       NYAG’s Complaint

         NYAG brings eight claims, all arising under Executive Law § 63(12), which authorizes

NYAG to seek an injunction and damages for “repeated fraudulent or illegal acts.” (Compl.

¶¶ 263-325.) The Complaint attempts to use Executive Law § 63(12) as a vehicle to pursue

“illegal” or “fraudulent” conduct under other federal or state laws. The eight claims can be

grouped into four categories: (1) EFTA claims; (2) UCC claims; (3) data security claims; and

(4) consumer deception claims.

         •        EFTA Claims. NYAG’s central allegation is that Citibank wrongly applies the
                  UCC to consumer wires instead of the EFTA. NYAG separately alleges that there
                  is an EFTA violation when scammers consolidate funds among a customer’s
                  accounts (e.g., transfers from savings to checking), and yet a further EFTA
                  violation because Citibank’s written customer agreements allegedly do not
                  conform to the EFTA’s requirements. (Id. ¶¶ 273-80.)

         •        UCC Claims. NYAG alleges, in the alternative, that Citibank violated UCC
                  Article 4A by not employing commercially reasonable security procedures. (Id.
                  ¶¶ 69, 288-97.)

         •        Data Security Claims. NYAG alleges that Citibank has violated the federal “Red
                  Flags Rule” and New York’s “SHIELD Act” because Citibank allegedly does not
                  have in place sufficient procedures to detect and prevent scammers from
                  succeeding in the types of fraud that worked in the cases of NYAG’s example
                  Consumers “A” through “J.” (Id. ¶¶ 298-316.)



5
  The Court may take notice of the “fact” of “press coverage” of matters on a motion to dismiss, without regard for
the truth of the coverage. Staehr v. Hartford Fin. Servs. Gp., Inc., 547 F.3d 406, 425 (2d Cir. 2008).



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       •       Consumer Deception Claims. NYAG alleges fraudulent and deceptive conduct,
               in violation of Executive Law § 63(12) and New York’s consumer protection law,
               N.Y. Gen. Bus. L. § 349, based on advertising statements such as “your security is
               important to us,” and based on the manner in which Citibank handles fraud
               complaints. (Id. ¶¶ 84, 317-25.)

                                           ARGUMENT

I.     NYAG’s First Cause of Action for “Unauthorized Debits” Under the EFTA Should
       Be Dismissed Because the Wire Transactions at Issue Are Exempt.

       The core allegation of the Complaint is that Citibank commits “illegal acts,” N.Y. Exec.

L. § 63(12), when it applies UCC Article 4A in the circumstances of allegedly unauthorized

online wire transfers, instead of the EFTA. (Compl. ¶ 62.)

       According to NYAG’s novel theory, a single wire transfer can be subdivided into at least

three separate components, each potentially subject to different laws, as depicted by the below

image from the Complaint (see id. ¶ 58):




       As NYAG sees it, a wire transfer consists only of the “bank-to-bank” transmission of

funds between institutions that subscribe to the wire services, even though those transmissions

are necessarily predicated on the transaction’s other interrelated components, i.e., the sending

bank debiting its customer, and the receiving bank crediting its customer.

       Based on this artificial deconstruction of a wire transfer, NYAG argues that the sending

bank’s debit of its own customer is an independent, EFTA-covered transaction, which does not



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trigger the consumer wire exemption. NYAG’s theory is as imaginative as it is incorrect, and the

Court should reject it for the multiple reasons discussed below.

       A.      The EFTA Exempts Consumer Wires.

       As detailed above, the EFTA is absolutely clear that consumer wires are exempted. The

statute defines “electronic fund transfer” to exclude transfers “on behalf of a consumer by

means of a [wire] service.” 15 U.S.C. § 1693a(7)(B) (emphasis added). The Federal Reserve

similarly explained when adopting Regulation E that the exemption was intended to carve out

“transfers for consumers by any network similar to Fedwire.” Electronic Funds Transfers, 44

Fed. Reg. 18,468, at 18,471 (Mar. 28, 1979) (emphasis added).

       Ignoring these express references to “consumer” transfers, NYAG inaccurately describes

the statutory exemption as a “narrow” exemption covering only the bank-to-bank component

where funds go from “Citi’s own accounts (not consumers’ accounts)” to the “the beneficiary

bank’s own accounts.” (Compl. ¶¶ 62, 97.) Under NYAG’s characterization, the consumer is

written out of the wire transfer. Yet, this interpretation violates “one of the most basic

interpretive canons,” namely, that a statute should be construed so that its terms are given effect,

and that “no part will be inoperative or superfluous, void or insignificant.” Corley v. United

States, 556 U.S. 303, 314 (2009) (citation omitted). Under this fundamental interpretive

principle, the term “consumer” cannot be erased, as NYAG is trying to do here.

       Further, NYAG’s reading of the EFTA would mean that the consumer wire exception

never applies, rendering it meaningless. As discussed, the EFTA applies only to transfers to or

from accounts “established primarily for personal, family, or household purposes.” 15 U.S.C.

§ 1693a(2), (7). If NYAG were correct that the consumer wire exemption is confined only to the

transmission between the accounts of banks that interface with the particular wire service (i.e.,

between two accounts that are not for “personal, family, or household” purposes), the exemption


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expressly crafted by Congress would have been unnecessary because these transmissions would

not be covered by the EFTA in the first instance.

       The Court should reject NYAG’s attempt to rewrite the EFTA.

       B.      The Regulatory Record Further Confirms that Consumer Wires Are
               Exempted From the EFTA.

       Regulatory authority from multiple federal agencies (the Federal Reserve Board, the

FDIC, and the CFPB) also makes it absolutely clear that the EFTA exempts consumer wires.

               1.      Federal Reserve Guidance Makes Clear That the Consumer Is Part of
                       a Wire Transfer.

       As discussed above, the Federal Reserve’s official guidance in 1981 stated that transfers

“sent by Fedwire or a similar network” with electronic “instructions for crediting individual

consumers’ accounts” are subject to the wire transfer exemption. Electronic Fund Transfers, 46

Fed. Reg. 46,876, at 46,879 (Sept. 23, 1981) (Question 3-2) (emphasis added). This Guidance

cannot be squared with NYAG’s theory that the bank-to-bank component stands alone because,

if that were so, there would be no relevance to the subsequent “crediting [of] individual

consumers’ accounts.” The Guidance refers to the ultimate payee because the payment, from

sender to recipient, is appropriately treated as one transfer.

       That same Guidance helpfully provides an example of when a series of payments would

be considered as separate for EFTA purposes: a “company sends funds by Fedwire or a similar

network from one financial institution to another, and transfers via ACH are then made from the

second institution to the accounts of company employees at still other institutions.” Id. at 46,879

(Question 3-3) (emphasis added). The Federal Reserve explained that “[a]lthough the Fedwire

transfer is exempt, the ACH transfers to employees’ accounts are subject to” the EFTA. Id.

       This example illustrates that when there is a sequence of payments where one leg of the

payment is via one mechanism (e.g., wire) and the next via another (e.g., ACH), the different


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mechanisms can be regulated differently. But, tellingly, there is no indication that the internal

crediting or debiting within any particular payment mechanism—that is, the internal means

banks use to carry out the wire or ACH payment—is ever treated as a separate EFTA transfer. 6

        Finally, the Federal Reserve’s commentary to Regulation J (the regulation governing

Fedwire, discussed above) specifies that “Fedwire funds transfers to or from consumer accounts

are exempt from the EFTA and Regulation E.” 12 C.F.R. pt. 210, subpt. B, app. A (commentary

to § 210.25(b)(4) (emphasis added)). It is notable that the Federal Reserve is again characterizing

for EFTA purposes the transfers as payments to or from consumer accounts—that is, treating the

full wire transfer as one—and not confusing matters, as NYAG is attempting to, by artificially

separating out banks’ internal settlement or execution mechanisms.

                 2.       The FDIC’s Guidance Is That the Wire Exemption Applies to
                          Consumer Wires.

        Another agency that agrees with the effect of the wire exemption is the FDIC. In 1994,

the FDIC issued an interpretive letter addressing whether it was proper for a bank to charge a

$35 fee when a consumer tried to wire “$200 from Germany to her grandson in Arizona,” but the

bank misdirected the wire. See FDIC, Users’ Rights Under the Electronic Funds Transfer Act in

the Event of Bank Error Regarding an Electronic Wire Transfer, 1994 WL 393720, at *1 (1994).

The FDIC noted that the EFTA exempts transfers through wire systems “such as the one which

the German bank employed to transfer funds to the bank in Arizona,” and so, the FDIC

concluded, the issue was governed by Article 4A. Id.




6
  The current Regulation E guidance reflects this same understanding, describing a transfer which is a combination
of Fedwire and ACH: “If a financial institution makes a fund transfer to a consumer’s account after receiving funds
through Fedwire or a similar network, the transfer by ACH is covered by the regulation even though the Fedwire or
network transfer is exempt.” See 12 C.F.R. pt. 1005, supp. I, Comment 3(c)(3)-1. If an ordinary Fedwire transfer
alone triggered the EFTA’s protections, one would expect this part of the Guidance to have simply said so.



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                 3.       CFPB Guidance Following the Dodd-Frank EFTA Amendments
                          Confirms That the Wire Exemption Means What It Says.

        Further confirmation that the EFTA does not mean what NYAG claims can be found in

the history associated with Congress’s decision in 2010 to extend certain protections of the

EFTA to “remittance transfers,” i.e., transfers by domestic individuals to others abroad, as part of

the law commonly known as “Dodd Frank.” See Pub. L. 111-203 § 1073 (2010) (codified at 15

U.S.C. § 1693o-1). In adopting its final rule amending Regulation E, the CFPB stated plainly that

it was taking remittance transfers via wire out of Article 4A, which otherwise would cover

consumer wires:

                 Consumers currently receive some protections under UCC Article 4A in
                 the event the wire transfer is not completed, or in the event of errors in
                 execution of the transfer, or in connection with an unauthorized transfer.
                 Nonetheless, although consumers who request wire transfers that are
                 remittance transfers may no longer have the protections set forth in UCC
                 Article 4A, these consumers will receive error resolution, refund and
                 cancellation rights and other protections for these transfers as set forth in [the
                 updated Regulation E].

See Electronic Fund Transfers (Regulation E), 77 Fed. Reg. 6,194, at 6,212 (Feb. 7, 2012)

(emphasis added). If NYAG’s interpretation were correct, then these wire remittances would

already have been covered by the EFTA, and the amendments would have been unnecessary. 7

        Consistent with this point, the CFPB further explained that, until the Dodd-Frank

amendments, the two “categories of transfers . . . believed to compose the majority of the

remittance transfer market” were not previously covered by the EFTA: (1) transfers via money

transmitters and (2) wire transfers. Id. at 6,195. Money transmitter transactions were not covered

by the EFTA because they involve in-person cash payments (not debits of accounts initiated



7
  Although the Dodd-Frank amendments applied certain EFTA protections (e.g., added disclosures) to remittance
transfers, the refund protections at issue here apply only if the remittance transfer is also an “electronic fund
transfer,” which, as discussed, excludes wires. 12 C.F.R. § 1005.33(f)(3).



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electronically), and remittances that consumers sent by wire were not covered because, as the

CFPB observed, and as relevant here, “Congress had specifically structured the EFTA to

exclude wire transfers.” Id. (emphasis added). The CFPB thus again recognized that the wire

exemption has long operated to prevent consumer wires from falling within the EFTA.

       The CFPB was not alone in that view. In 2012, the New York legislature amended the

UCC to address certain spillover effects of Dodd-Frank, and, in describing the statutory

backdrop, the State Assembly Memorandum accompanying the bill recognized that wires

through Fedwire and CHIPS are “governed by Article 4A even if they involved consumers.”

N.Y. Bill Jacket, L. 2012, Ch. 399, at 9-10 (emphasis added).

       The UCC’s Official Comments to the amendments echoed this same view:

               A consumer originates a payment order from the consumer’s account at
               Bank A to the designated recipient’s account at Bank B located outside the
               United States. Bank A uses the CHIPS system to execute that payment order.
               The funds transfer is a ‘remittance transfer’ as defined in 15 U.S.C. Sec.
               1693o-1. This transfer is not an ‘electronic fund transfer’ as defined in 15
               U.S.C. Sec. 1693a(7) because of the exclusion for transfers through systems
               such as CHIPS in 15 U.S.C. Sec. 1693a(7)(B) . . . .

Uniform Law Annotated, U.C.C. § 4A-108, Comment 2, Case #3 (emphasis added).

                                              ***

       NYAG’s theory amounts to claiming that it knows federal banking law better than federal

banking regulators, such as the Federal Reserve, the FDIC and the CFPB. The Court should

reject NYAG’s implausible and incorrect claim.

       C.      The Monthly Statement Requirements in the EFTA and Regulation E Are
               Rendered Senseless Under NYAG’s Theory.

       “Statutes should be interpreted ‘as a symmetrical and coherent regulatory scheme.’”

Mellouli v. Lynch, 575 U.S. 798, 809 (2015) (citation omitted). Yet the EFTA’s monthly

disclosure requirements would make no sense if wires are subdivided, as NYAG proposes.



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       Under the EFTA, monthly consumer statements must disclose “the identity of any third

party to whom or from whom funds are transferred.” 15 U.S.C. § 1693d(a)(3), (c)(1). The House

Report for the EFTA pointed out that this requirement was important so that customers could

“easily recognize” their payments and “look for errors.” H.R. Rep. No. 95-1315, at 8 (1978).

Regulation E reflects this same requirement, and the Official Guidance is clear that, where “a

consumer makes an electronic fund transfer to another consumer, the financial institution must

identify the recipient by name.” 12 C.F.R. § 1005.9 & pt. 1005 supp. I, Comment 9(b)(1)(v)-2.

       Recognizing reality, these requirements treat a transaction where one consumer pays

another as a single fund transfer to be disclosed, complete with the name of the ultimate

recipient. If NYAG’s view were adopted, however, and the internal debit/credit components of a

wire were treated as standalone EFTA-covered transfers, then banks would be required by law to

issue monthly statements listing the bank itself as the “recipient” every time a consumer initiates

a wire transfer—defeating the purpose of the disclosure requirement.

       D.      There Is No Hint of NYAG’s Novel Theory in the Nearly Half Century Since
               the EFTA’s Passage.

       The existence of a longstanding consensus as to the EFTA’s meaning is powerful

confirmation that the consensus understanding—and not a novel, hidden one—is correct. The

Supreme Court’s decision in Christopher v. SmithKline Beecham Corp., 567 U.S. 142 (2012),

illustrates this commonsense principle. Christopher considered whether the Fair Labor Standards

Act’s overtime rules applied to certain pharmaceutical sales representatives, who across the

industry were considered exempt because they did “not punch a clock” like hourly workers and

“often work[ed] more than 40 hours per week.” Id. at 158. The Supreme Court acknowledged

that although it was theoretically “possible for an entire industry to be in violation of the FLSA




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for a long time without” anyone noticing, the far more “plausible hypothesis” was that the

industry was acting lawfully all along. Id. (brackets and quotation marks removed).

         Here, the EFTA has been on the books since 1978, but there has been no case law,

regulatory or administrative guidance, nor any other authority, adopting NYAG’s newly-crafted

theory in the intervening 46 years. As discussed, regulators have consistently recognized that the

EFTA’s consumer wire transfer exemption, unsurprisingly, exempts consumer wire transfers.

Courts have recognized the same point, as well.

         The decision in Fischer & Mandell LLP v. Citibank, N.A., 90 Civ. 1160, 2009 WL

1767621 (S.D.N.Y. June 22, 2009), is illustrative. Judge Sullivan dismissed EFTA claims against

Citibank because “Regulation E explicitly excludes from the coverage of the EFTA transfers of

funds made through checks and wire transfers,” and there was “no dispute that each of the

transactions at issue was made through checks and wire transfers.” Id. at *3-4. And, in Wright v.

Citizen’s Bank of E. Tennessee, 640 F. App’x 401 (6th Cir. 2016), when a couple accused its

bank of making an error in a wire payment, the Sixth Circuit dismissed the EFTA claim, holding:

“Here, the funds transfers at issue were made through Fedwire. Therefore, the EFTA does not

apply.” Id. at 404. The court proceeded to analyze the claim under Article 4A. Id. at 404-07. 8

         Tellingly, as discussed, even consumer advocates have not advanced NYAG’s theory,

which is why they are lobbying Congress to adopt a proposed amendment to provide the



8
  See also, e.g., Pope v. Wells Fargo Bank, N.A., No. 2:23-cv-86, 2023 WL 9604555, at *3-4 (D. Utah Dec. 27,
2023) (EFTA claims by consumer who fell for “phishing” scam dismissed because the “EFTA is not applicable to
wire transfers”); Trivedi v. Wells Fargo Bank, N.A., 609 F. Supp. 3d 628, 633 (N.D. Ill. 2022) (declining to apply
Regulation E to allegedly fraudulent consumer wire because UCC Article 4A governs “when the transaction
involves a wire transfer”); McClellon v. Bank of Am., N.A., No. C18-0829-JCC, 2018 WL 4852628, at *5 (W.D.
Wash. Oct. 5, 2018) (holding that plaintiff stated a claim under UCC Article 4A but not the EFTA, since
“Regulation E does not apply to ‘[w]ire or other similar transfers’” (quoting 12 C.F.R. § 1005.3(c)(3))); Stepakoff v.
Iberiabank Corp., 637 F. Supp. 3d 1309, 1313 (S.D. Fla. 2022) (concluding that the EFTA did not apply to a
requested wire transfer); Bodley v. Clark, No. 11 CIV. 8955 KBF, 2012 WL 3042175, at *4 (S.D.N.Y. July 23,
2012) (noting that “wire transfers are explicitly excluded from EFTA’s definition of ‘electronic fund transfers’”).



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outcome NYAG—improperly—seeks to accomplish via litigation. These legislative efforts

undermine NYAG’s claim that the EFTA’s wire exemption already accomplishes what the

proposed amendment would do. (Compl. ¶ 62 (alleging that consumer wire exemption is

“inapplicable” to consumer wires and governs only bank-to-bank transmissions).) See, e.g., In re

Thomas, 931 F.3d 449, 455 (5th Cir. 2019) (citing proposed legislative amendments that sought

“to make student loans dischargeable” as evidence that existing law should not be read as already

making student loans easily dischargeable); MED Trends, Inc. v. United States, 102 Fed. Cl. 1, 6

(Fed. Cl. 2011) (inferring from “proposed legislation” that “Congress understands that the

existing . . . provision does not accomplish the same result”).

       Beyond Congress and consumer groups, NYAG’s theory has also eluded academic

industry experts, who consistently describe the EFTA’s consumer wire exemption as applying to

consumer wires, without any hint of NYAG’s novel theory:

       •       “[A]n electronically initiated wire transfer either from or to a consumer is
               excluded by Section 1005.3(c)(3) because it is sent via Fedwire or a similar
               network.” 1 Benjamin Geva, The Law of Electronic Funds Transfers § 6.04
               (2023).

       •       “Fedwire and CHIPS transactions are excluded from the EFTA even though the
               transfer is effected for a consumer. As to these transactions, Article 4A is
               applicable even though the transaction involves a consumer.” 7 Anderson on the
               Uniform Commercial Code § 4A-108:5 (3d. ed. 2023).

       •       “If the EFT at issue is similar to the one discussed . . . (e.g., an instruction from
               one entity to its bank to make a wire transfer payment to another entity’s bank
               account that is conducted through the Federal Reserve), the transaction initially
               falls squarely under Article 4A. This is the case regardless of whether the
               originator is a consumer or a commercial entity due to the express language
               excluding these types of transactions from the EFTA and Regulation E.” 3 White,
               Summers, & Hillman, Uniform Commercial Code § 22:2 (6th ed. 2023).

See also n.4, supra (collecting legal authorities from shortly after the adoption of Article 4A).




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        This shared and consistent understanding—spanning decades and among a wide range of

courts, industry experts, consumer groups, regulators and others—underscores that the EFTA

should not be given the unique interpretation that NYAG advances.

        E.       In the Alternative, the EFTA’s “Automatic Transfer” Exemption Defeats
                 NYAG’s Claim.

        Even if the Court were to adopt NYAG’s unprecedented division of wire transfers into

separate “electronic funds transfers,” its theory would still fail under the EFTA’s “automatic

transfer” exemption. Regulation E explicitly exempts from the EFTA’s coverage certain

automatic intra-bank transfers, including:

                 Any transfer of funds under an agreement between a consumer and a financial
                 institution which provides that the institution will initiate individual transfers
                 without a specific request from the consumer . . . [b]etween a consumer’s
                 account and an account of the financial institution.

12 C.F.R. § 1005.3(c)(5). Thus, under this exemption, if a consumer agrees that an internal debit

will occur “automatically on the occurrence of certain events”—say, a payment every month

when a mortgage payment is due—the EFTA does not apply. See 12 C.F.R. pt. 1005, supp. I,

Comment 3(c)(5). Here, the Complaint alleges (correctly) that, by operation of Citibank’s

customer account agreements, a debit from the customer’s account is automatically approved

when a wire is requested. (Compl. ¶ 56.) Consistent with the notion of a consumer wire as a

single, integrated transaction, Citibank’s Client Manual and Deposit Account Agreement—both

of which are incorporated into the Complaint (see Compl. ¶¶ 42, 77-78) 9—provide that “[w]hen

you request a funds transfer, you authorize [Citibank] to debit your account for the amount of the

transfer . . . .” (See Ex. K, at 21; see also Ex. L, at 60 (similar language).)




9
 The Court may consider on a motion to dismiss “documents incorporated in the complaint by reference.”
McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007).



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       There is no allegation, nor could there be, of a customer having to provide two approvals,

one for the debit, and one for the bank-to-bank transmittal. There is instead a standing instruction

to initiate the internal debit from the customer’s account upon the occurrence of a wire request.

This procedure fits the plain language of the exemption exactly, no differently than, for example,

a standing instruction to deduct the minimum payments on a credit card and letter of credit each

billing cycle. See Krutchkoff v. Fleet Bank, N.A., 960 F. Supp. 541, 543-44 (D. Conn. 1996)

(applying exemption to that fact pattern). On this independent basis, NYAG’s EFTA claim fails.

II.    NYAG’s Second Cause of Action Should Be Dismissed Because “Intra-Bank
       Transfers” Are Not “Unauthorized” and Cause No Losses for NYAG to Recover.

       In a further attempt to stretch the EFTA beyond its text and purpose, NYAG alleges that

unauthorized electronic fund transfers between a single customer’s accounts (e.g., from savings

to checking) that precede a fraudulent wire are EFTA-covered transfers requiring reimbursement.

(Compl. ¶¶ 277-79.) Under the EFTA, however, a transfer “from a consumer’s account” is only

considered “unauthorized,” and thus eligible for reimbursement, if a person without authority

initiates it and the “consumer receives no benefit.” 15 U.S.C. § 1693a(12).

       In the case of a transfer across one consumer’s accounts, the consumer receives the

transferred funds and therefore does receive the benefits. Thus, in Becker v. Genesis Fin. Servs.,

CV-06-5037, 2007 WL 4190473, at *12 (E.D. Wash. Nov. 21, 2007), a consumer claimed she

“did not give permission” to a credit card company to transfer a balance to another one of her

cards, but the court ruled the transfer was not “unauthorized” because she received the benefit of

the transfer. Id. at *12. Similarly, when a credit card company deducted funds from a consumer’s

bank account, allegedly without permission, the Second Circuit held the transfer was not

“unauthorized” because the consumer received the “benefit of reducing her debt.” Aikens v.

Portfolio Recovery Assocs., LLC, 716 F. App’x 37, 40 (2d Cir. 2017). So too here, where the



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outflow of money from one account corresponds to an equal credit—a benefit—to the consumer

in another. This result is consistent with the language and structure of the EFTA, which refers to

banks having to “reimburse[]” the “consumer for losses” arising from unauthorized transfers. 15

U.S.C. § 1693g(2). This language presumes that the consumer has lost money that can be

reimbursed—which does not make sense in contexts like this one, where there is no “loss.”

       Relatedly, NYAG fails to plead facts justifying its claimed remedy—“restitution and

damages” for persistently fraudulent or illegal conduct, N.Y. Exec. L. § 63(12)—because, in

these circumstances, there is nothing to recover or enjoin. Any loss is not caused by the transfer

between the customer’s accounts but rather by the subsequent outbound wire transfer. New York

courts have consistently held that where funds are first transferred among a customer’s own

accounts and then converted from the receiving account, the relevant injury arises from the

conversion rather than the transfer between accounts. See Davis Aircraft Prod. Co. v. Bankers

Tr. Co., 319 N.Y.S.2d 379, 379-80 (1st Dep’t 1971); Rizer v. Breen, No. 601676/05, 2007 WL

4378149, at *15 (N.Y. Sup. Ct. Jan. 29, 2007).

III.   NYAG Fails to Plead Any Disclosure Violations or “Illegal Agreements,” Defeating
       the Third Cause of Action.

       The Third Cause of Action advances two separate claims as to alleged deficiencies in

Citibank’s customer disclosures and agreements. The Court should reject both.

       A.      There Is No Obligation for Citibank to Detail Its “Security Protocols.”

       The EFTA requires banks “at the time the consumer contracts” for a covered service to

make certain disclosures in “readily understandable language,” such as who to contact about

fraud and what fees will be charged. 15 U.S.C. § 1693c; 12 C.F.R. §§ 1005.4, 1005.7. Nowhere

does the EFTA, as NYAG alleges, require Citibank “to describe in clear and readily

understandable terms the security protocols that Citibank will actually deploy to prevent



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unauthorized EFTs initiated via online or mobile banking.” (Compl. ¶¶ 283, 285.) Indeed, the

requirements mention nothing about disclosing security protocols—and for good reason. 15

U.S.C. § 1693c; 12 C.F.R. § 1005.7. Doing so would provide a roadmap for fraudsters. 10

         B.       Citibank’s Account Agreements Do Not Waive Rights Under the EFTA.

         The Court should reject the Third Cause of Action’s claim that Citibank’s online

customer agreement (the “Online Agreement”) violates the EFTA’s “anti-waiver” provision (see

Compl. ¶ 286), which states:

                  No writing or other agreement between a consumer and any other person may
                  contain any provision which constitutes a waiver of any right conferred or
                  cause of action created by [the EFTA].

15 U.S.C. § 1693l. NYAG’s three theories on this point are all meritless.

         First, NYAG alleges that Citibank treats a transaction “initiated through online or mobile

banking using usernames and passwords as an authorized EFT even if not made with actual

authority.” (Compl. ¶ 286(a).) This apparently refers to a clause in Citibank’s Online Agreement

stating that Citibank is authorized to treat instructions authenticated via a username and

password “as if the instructions had been made in writing and signed by you.” (Ex. M, at 3

(§ G).) But NYAG does not allege that Citibank actually reads or applies this clause to waive any

EFTA rights, or that it has ever been applied to deny reimbursement based on an unauthorized

person only having access to the customer’s username and password. Belying NYAG’s

allegations, the scams cited by NYAG are far more sophisticated, involving, for example:

         •        a customer whose personal information, including social security number, was
                  stolen from a mortgage firm (Consumer B) (see Compl. ¶ 154);


10
  Relatedly, daily ATM withdrawal limits generally must be disclosed unless their “confidentiality is necessary to
maintain the security of an electronic fund transfer system.” 15 U.S.C. § 1693c(a)(3). Clearly, if the EFTA’s drafters
believed that merely disclosing matters such as ATM withdrawal limits could present an unacceptable security risk,
then there cannot be a separate, undisclosed, affirmative requirement implied in the statute to spell out the precise
security procedures employed by a bank for verification of wire transfer requests.



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       •       a customer who provided a scammer the answers to three security questions
               (Consumer F) (see id. ¶ 184); and

       •       a customer who read the scammer her debit card number and codes texted to her
               over the phone (Consumer J) (see id. ¶ 237).

       Put simply, the notion that Citibank forces customers to agree to waive their EFTA

protections in the manner NYAG alleges is refuted by the Complaint itself.

       Second, NYAG alleges that the Online Agreement’s terms have “altered Citi’s burden of

proof by contractually providing that Citi may treat its own internal records and documents as

conclusive evidence.” (Compl. ¶ 286(b).) Contrary to NYAG’s characterization, the Online

Agreement plainly does not shift any burdens. The relevant provision states only that Citibank’s

own business records will ordinarily be conclusive proof as to what those records show occurred:

“Unless there is substantial evidence to the contrary, Citibank records will be conclusive

regarding any access to, or action taken through, Citi Online.” (Ex. M, at 3 (§ G) (emphasis

added).) This provision is, effectively, an evidentiary presumption about Citibank’s business

records. If, for example, Citibank’s records showed that a wire was authorized in part by email,

then those records would ordinarily be “conclusive” that an email was sent as the records show,

nothing more. This presumption does not relieve Citibank of any statutory EFTA obligations.

       Third, NYAG advances an equally untenable variation of this argument by alleging that

the Online Agreement alters “Citi’s obligations to undertake a reasonable investigation under the

EFTA and Reg. E, instead providing that Citi may deem its records ‘conclusive’ in the absence

of ‘substantial’ contrary evidence.” (Compl. ¶¶ 89, 286(c).) Again, this argument is defeated by

the Online Agreement’s plain language. The modest presumption that Citibank’s own records are

reliable does not somehow mean that Citibank is attempting to short circuit any obligation to

undertake reasonable investigations.




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IV.    NYAG Does Not Plead Facts Showing UCC Violations, Defeating the Fourth Cause
       of Action.

       NYAG’s UCC-based claim (Compl. ¶¶ 288-97) is not brought directly under the UCC

but, again, arises under the Executive Law’s prohibition against “repeated . . . illegal acts.” N.Y.

Exec. L. § 63(12). In other words, NYAG uses the Executive Law here as “only a mechanism” to

“show that injunctive relief and restitution are proper” for alleged Article 4A violations. People

ex rel. Schneiderman v. One Source Networking, Inc., 3 N.Y.S.3d 505, 508 (4th Dep’t 2015).

       This is a particularly important distinction for the UCC-based claim because it is not

“illegal” under the UCC for Citibank to have antifraud practices that NYAG believes are

inadequate, which seemingly is the overarching theme of NYAG’s UCC claim. Rather, the

reasonableness of Citibank’s security procedures must be considered in connection with specific

unauthorized wire transfers. For NYAG to meet its burden of pleading “repeated” and “illegal”

conduct, the facts as alleged must actually add up to multiple, particular instances of Citibank

violating the UCC by, for instance, refusing to pay refunds that are due, or by sending wires in

contravention of consumer instructions. Yet, NYAG wholly fails to meet its burden to plead facts

essential to that showing. The Fourth Cause of Action thus should be dismissed.

       A.      The Governing UCC Standards Require Only that Security Procedures Be
               Commercially Reasonable and that a Bank Act in Good Faith and in
               Compliance with the Procedures.

       UCC Article 4A provides that banks are not responsible to reimburse unauthorized online

funds transfers if (1) the bank and the customer have agreed to a “commercially reasonably

security procedure” and (2) the bank “accepted the payment order in good faith and in

compliance with the security procedure and any written agreement or instruction of the customer

restricting acceptance of payment orders issued in the name of the customer.” N.Y. U.C.C.

§§ 4-A-202(2), 4-204(1). A “security procedure” is a “procedure established by agreement of a



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customer and a receiving bank for the purpose of . . . verifying that a payment order or

communication amending or cancelling a payment order is that of the customer.” N.Y. U.C.C.

§ 4-A-201.

       The commercial reasonableness of security procedures is “a question of law,” so as to

ensure “more predictability.” N.Y. U.C.C. § 4-A-203, Official Comment 4. These standards are

intended to “encourage banks to institute reasonable safeguards against fraud,” but that does not

“make them insurers against fraud.” Id. Further, a “security procedure is not commercially

unreasonable simply because another procedure might have been better[.]” Centre-Point

Merchant Bank Ltd. v. Am. Express Bank Ltd., No. 95 Civ. 5000, 2000 WL 1772874, at *4

(S.D.N.Y. Nov. 30, 2000) (citation omitted).

       The decision in Braga Filho v. Interaudi Bank, No. 03 Civ. 4795, 2008 WL 1752693

(S.D.N.Y. Apr. 16, 2008), aff’d, 334 F. App’x 381 (2d Cir. 2009), is illustrative. In Filho, a

couple sued their bank when 17 unauthorized wires totaling $950,000 were made from their

account via fax requests. The court, applying Article 4A, ruled for the bank because there was an

agreement for a security procedure, which the bank followed in good faith. Id. at *4-5. The

agreement was a flexible one, allowing the bank to “select security procedures for accepting

instructions that [were] commercially reasonable for” the bank. Id. at *4. The security procedure

the bank chose and actually deployed in these instances was one that the court agreed was

commercially reasonable—namely, the bank (1) compared the signature on the faxes with a

signature card on file, (2) called the customer’s number to confirm the answers to security

questions (e.g., mother’s maiden name), and (3) recorded and logged the call. Id. at *4. As the

court observed, “[w]hoever made these requests had access to all the necessary information” to

pass the security procedures, which meant the bank was not responsible. Id. at *5.




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       B.      NYAG Fails to Allege Facts Describing the Security Procedures or Why
               They Were Allegedly Deficient.

       The Online Agreement allows Citibank, like the bank in Filho, flexibility in selecting the

appropriate security procedure, which can involve email, telephone, or other customer contact:

               Citi Online has been designed to reduce the possibility of fraud and error by
               placing the issuance of a User ID, and Passwords (“Codes”) under your
               control so that your accounts may be accessed only upon entry of valid Codes.
               You authorize Citibank to treat any instruction made on Citi Online with valid
               Codes as if the instructions had been made in writing and signed by you.

               ...

               When you place an order for a funds transfer (including a wire or cable
               transfer), Citibank may follow a security procedure established for your
               protection that may entail a telephone call or other required contact with or
               from you prior to acting upon your instructions. In certain instances, Citibank
               may also decline to act upon your instructions. Citibank may employ other
               controls to verify your identity . . . .

               You agree to these security procedures, and acknowledge that if contacted,
               either by telephone or electronically, you will act or respond in compliance
               with requests resulting from these security procedures . . . .

(Ex. M at 3 (§ G) (paragraph break and emphasis added).) The reason that the Online Agreement

affords Citibank flexibility is self-evident: widely available, standardized consumer banking

agreements that spell out exactly how a bank verifies wires—or, worse, that specify that a

singular procedure will always be deployed—would provide a roadmap for fraudsters and would

limit a bank’s ability to use ever-changing methods that are harder for fraudsters to anticipate.

       This is the industry approach in consumer banking. Indeed, the court in Filho explained

that it was perfectly appropriate that customers “did not know what the Bank’s security

procedures were,” because the bank would have every incentive to deploy one that is

commercially reasonable. Filho, 2008 WL 1752693, at *4; see also Chavez v. Mercantil

Commercebank, N.A., 701 F.3d 896, 902 (11th Cir. 2012) (noting that a bank could “select the

security procedure” so long as the customer “granted to the bank the right to” do so). Citibank’s


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competitors similarly do not spell out in their standardized agreements exactly how wires or

other transfers will be confirmed. 11

         Failing to appreciate this point, NYAG alleges Citibank has commercially unreasonable

procedures because the Online Agreement “incorporate[s] single-factor authentication,” under

which a name and password will suffice. (Compl. ¶ 293(a).) But the Agreement’s terms

themselves show otherwise. Although the Online Agreement states that Citibank may treat

instructions via a username-and-password method “as if the instructions had been made in

writing and signed by you,” it is clear that this is not the only procedure deployed. The Online

Agreement goes on to describe additional security procedures that “may entail a telephone call or

other required contact,” among “other controls” for the customer’s protection. (Ex. M at 3 (§ G).)

         NYAG’s UCC allegations fail to set forth which of these additional identity-verification

procedures were employed that led to payments being approved in specific cases—in other

words, the facts bearing on the reasonableness of the procedures that Citibank used. Although

some aspects of the procedures can be inferred from the descriptions of the transactions, those

clues are a far cry from factual allegations about what procedures were employed or why they

were lacking. In fact, Citibank employs robust security procedures. See, e.g., In re Bhuya v.

Citibank, N.A., No. 23CV07082, 2023 WL 7286783 (E.D.N.Y. Sept. 22, 2023) (arbitral award in

Citibank’s favor where scammers passed security procedures because they “had access to the




11
   See Ex. N, at 12 (Bank of America customer agreement stating that customers agree to “security and identification
methods as we may require from time to time”); Ex. O, at 81 (Chase customer agreement stating: “When you use
this service, you will authenticate with a username and password and may, from time to time, be asked to complete
additional authentication steps like security questions, one-time codes, and other methods of authentication.”); Ex. P,
at 31 (Wells Fargo customer agreement stating: “The Security Procedure consists of verifying your username and a
password, and/or such other additional security and authentication methods as we may require from time to time.”).
These terms are judicially noticeable. See McGucken v. Newsweek LLC, 464 F. Supp. 3d 594, 600 n.2 (S.D.N.Y.
2020) (taking judicial notice of non-party’s “publicly accessible” online terms of use where there was no dispute as
to authenticity or existence of the terms of use).



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log-in information,” had access to “the full debit card number and pin,” and responded to fraud

alerts with “the last four digits of the Claimant’s social security number”).

       NYAG next alleges that Citibank lacks “mechanisms to identify high-risk transactions or

anomalous behavior,” such as wires that would empty accounts. (Compl. ¶¶ 293(a), (b).) In fact,

Citibank does have robust mechanisms to identify suspicious transactions, but, even taking the

allegation as true, NYAG misconstrues the law. The term “security procedure” does not refer to

a bank’s overall risk matrix for approving wires or to other “procedures that the receiving bank

may follow unilaterally in processing payment orders.” N.Y. U.C.C. § 4-A-201, Official

Comment 1. The term is instead defined as the procedure for “verifying that a payment order or

communication amending or cancelling a payment order is that of the customer.” N.Y. U.C.C.

§ 4-A-201. That is, a security procedure is simply how a bank verifies that the sender of a wire is

who he or she claims to be—which is what NYAG fails to allege.

       The Eighth Circuit’s decision in Choice Escrow and Land Title, LLC v. BancorpSouth

Bank, 754 F.3d 611 (8th Cir. 2014), is instructive regarding this distinction. In that case, a

business fell victim to a phishing scam that ultimately led to $440,000 being wired to an

unknown account in Cyprus. Id. at 613. Upholding a finding that the bank’s security procedures

were commercially reasonable, the Eighth Circuit held that the bank was not required to

incorporate into its procedures a “transactional analysis” that would flag “irregularities” based on

the “size, type, and frequency” of each payment. Id. at 619. This “foreign standard” did not

match the UCC’s description of security procedures as customer-verification tools like

“algorithms or other codes, identifying words or numbers, encryption, callback procedures, or

similar security devices.” Id.; see N.Y. U.C.C. § 4-A-201 (listing these examples).




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        Drawing this line makes practical sense. It cannot be, as NYAG suggests, that every

individual dispute over an unauthorized payment opens the door to examining and second-

guessing the complex algorithms and systems banks use to flag suspicious transactions—as

opposed to the more cabined and relevant inquiry of how the bank chose in each instance to

verify that the particular payment order came from its customer. The UCC’s guidance that

commercial reasonableness is to be decided as “a matter of law” to provide “predictability,” N.Y.

U.C.C. § 4-A-203, Comment 4, is wholly undermined if every dispute over an unauthorized

transaction can morph into a referendum on how a bank detects and blocks fraud generally.

        NYAG makes a similar error in alleging that Citibank lacks sufficient controls and

training to “respond effectively in real-time to reject fraudulent Payment Orders.” (Compl.

¶ 293(c).) The question of how rapidly Citibank responds to detected fraud is plainly different

from the issue of how it may verify a customer’s identity.

        To be sure, Citibank has every incentive to employ, and does employ, robust procedures

for identifying suspicious transactions, and Citibank trains its staff to detect and stop fraud.

Where the Complaint goes awry is when it tries to turn the UCC’s security procedure concept

into a toehold for regulating through litigation the overall antifraud practices of the banking

industry. The upshot of this fundamental legal error is that NYAG fails to meet its burden of

including factual allegations pertinent to the governing legal standard for a security procedure.

Its claim should therefore be dismissed. Trivedi v. Wells Fargo Bank, N.A., 609 F. Supp. 3d 628,

632 (N.D. Ill. 2022) (dismissing Article 4A claim where plaintiff had “not alleged that either

Defendant has failed to implement a security procedure”). 12


12
  For the same reasons, NYAG’s passing allegation that Citibank did not act in “good faith” (Compl. ¶ 294)—
referring to the requirement for the bank to have “accepted the payment order in good faith,” N.Y. U.C.C. § 4-A-
202(2)—should be rejected. Absent allegations as to the grounds for accepting a particular payment order, it is
impossible to state a claim premised on that decision being one made in bad faith.



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       C.      NYAG Also Does Not Allege That Citibank Failed to Honor Customer
               Instructions Restricting Acceptance of Payment Orders.

       The final aspect of NYAG’s Fourth Cause of Action focuses on the UCC provision that

banks bear the responsibility for unauthorized wires if they do not comply with “any written

agreement or instruction of the customer restricting acceptance of payment orders issued in the

name of the customer.” N.Y. U.C.C. § 4-A-202(2). The UCC explains: “the customer may

prohibit the bank from accepting a payment order that is not payable from an authorized account,

that exceeds the credit balance in specified accounts of the customer, or that exceeds some other

amount.” N.Y. U.C.C. § 4-A-203, Official Comment 3.

       The Complaint contains no allegation of a customer issuing any particular “instruction”

that “restrict[ed]” the “acceptance of payment orders,” much less an allegation that Citibank

countermanded any particular instruction. N.Y. U.C.C. § 4-A-202(2). NYAG alleges instead that

Citibank violates this clause by improperly accepting payment orders in the face of “red flags” of

fraudulent activity, and by “delay[ing]” efforts to recover stolen funds. (Compl. ¶ 294.)

However, once again, NYAG strays far from the actual legal standards, seeking to impose

obligations that simply are not in the law. The practices about which NYAG complains plainly

are not the same as defying a consumer instruction; this claim should be dismissed.

V.     The Sixth Cause of Action, Based on the Red Flags Rule, Is Both Preempted and
       Inadequately Pleaded.

       NYAG’s claim based on the Red Flags Rule, a federal identity theft regulation, must be

dismissed because (1) the FCRA prevents enforcement by state agencies or through state laws,

such as the vehicle for NYAG’s claim, Executive Law § 63(12); and (2) the Complaint lacks

sufficient facts to show that Citibank failed, as the Rule requires, to develop and implement an

identity theft policy. The Court should therefore dismiss the Sixth Cause of Action.




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       A.      The Red Flags Rule Requires Banks and Others to Adopt Policies to Combat
               Identity Theft.

       The origins of the Red Flags Rule go back to 2003, when Congress, amending the FCRA,

directed a group of agencies to jointly “establish and maintain guidelines. . . regarding identity

theft,” and to “prescribe regulations” requiring banks “to establish reasonable policies and

procedures for implementing the guidelines.” Pub. L. 108-159 § 114 (2003) (codified at 15

U.S.C. § 1681m(e)). “Identity theft” is defined as “fraud committed using the identifying

information of another person.” Id. § 111.

       Nothing in the statute imposes liability whenever a fraudster’s identity theft scheme

succeeds. The resulting regulation—the Red Flags Rule—requires a covered bank to “develop

and implement a written Identity Theft Prevention Program (Program) that is designed to detect,

prevent, and mitigate identity theft . . . .” 12 C.F.R. § 41.90(d) (emphasis added). A bank’s

Program must “include reasonable policies and procedures” to “[i]dentify relevant Red Flags” in

“covered accounts,” and “Red Flag” is defined as “a pattern, practice, or specific activity that

indicates the possible existence of identity theft.” 12 C.F.R. § 41.90(b)(10), (d)(2)(i).

       B.      The FCRA Preempts NYAG’s Claim Under New York Executive Law
               Section 63(12).

       NYAG’s claim under the Red Flags Rule must be dismissed because the FCRA expressly

precludes NYAG from enforcing the Red Flags Rule directly, see 15 U.S.C. § 1681m(h)(8)(B)

(enforcement “exclusively” via certain federal agencies and officials), and because the FCRA

preempts NYAG’s indirect claim under Executive Law § 63(12).

       The relevant FCRA preemptive provision states that “[n]o requirement or prohibition

may be imposed under the laws of any State . . . with respect to the conduct required by the

specific provisions” of various FCRA provisions, including the one regarding the Red Flags

Rule. 15 U.S.C. § 1681t(b)(5)(F) (covering, among other provisions, 15 U.S.C. § 1681m(e)).


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Because preemption in this case is based on an express statutory provision (as contrasted with

implied preemption), the “focus” is “on the plain wording of the statute, which is necessarily the

best evidence of the scope of Congress’s preemptive intent.” Galper v. JP Morgan Chase Bank,

N.A., 802 F.3d 437, 443 (2d Cir. 2015).

       The key phrase “[n]o requirement or prohibition” in § 1681t “sweeps broadly” to

encompass both statutory and common-law claims. Premium Mortg. Corp. v. Equifax, Inc., 583

F.3d 103, 106 (2d Cir. 2009) (citation omitted). Similarly, the phrase “with respect to the

conduct required,” 15 U.S.C. § 1681t(b)(5)(F) (emphasis added), reflects Congress’s intent to

broadly preempt state law addressing conduct overlapping with matters covered by the

enumerated federal provisions.

       The decision in Willey v. J.P. Morgan Chase, N.A., No. 09 Civ. 1397, 2009 WL 1938987

(S.D.N.Y. July 7, 2009), is compelling here. In Willey, a bank customer accused Chase of

violating state law by failing to maintain reasonable procedures regarding the disposal of

personal financial information, as required under 15 U.S.C. § 1681w. Id. at *1. Chase argued that

the customer’s state-law claims were preempted under 15 U.S.C. § 1681t(b)(5) because the

claims related to the “conduct” required by the FCRA—specifically, the disposal of customer

information under 15 U.S.C. § 1681w. Judge McMahon agreed, finding that Congress intended

preemption in this context “to set uniform national standards” for how banks manage their data,

which “implie[d] broad preemption of state law claims.” Id. at *8. Since the state law claims

focused on “conduct” already regulated by the federal law—namely, how banks dispose of

customer data—those claims were preempted. Id.

       Also persuasive is the reasoning in Elias v. Synchrony Bank, No. BC555883, 2016 WL

6270746 (Cal. Super. Ct. Oct. 25, 2016). In Elias, a consumer accused his bank of selling credit




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card debt that he allegedly owed, while overlooking “red flags,” including those in the Red Flags

Rule, that should have shown that debt was part of an identity theft scam. Id. at *10-11. The

consumer framed the claim as a state law invasion of privacy tort, claiming his personal

information was disseminated in the sale. Id. at *10. The court found the claim preempted under

15 U.S.C. § 1681t(b)(5)(F) because the “statutory scheme specifically prohibits a state from

adopting any requirement or prohibition governing” the Red Flags Rule, and the plaintiff was

“essentially . . . attempting to enforce” the Red Flags Rule via state law. Id. at *11.

        The same holds true here. Like the claims in Willey and Elias, NYAG’s attempt to

enforce the Red Flags Rule against Citibank through a state law, Executive Law § 63(12), fails as

a matter of law. The claim is preempted. 13

        C.       NYAG Additionally Fails to Plead Facts Showing Violations of the Red Flags
                 Rule.

        Even if not preempted (which it is), NYAG’s claim under the Red Flags Rule should be

dismissed because NYAG wrongly tries to transform the Rule’s limited obligation to “develop

and implement” a written policy “designed” to combat identity theft into a boundless obligation

to catch every scammer every time. The Complaint accuses Citibank of violating the Red Flags

Rule because it allegedly “has failed to ensure that Defendant’s identity theft prevention



13
   NYAG cannot avoid preemption by asserting the Complaint is based on underlying violations of federal law.
Indeed, numerous courts have held that the FCRA preempts state-law claims similar to those asserted by NYAG
here. See Manes v. JPMorgan Chase Bank, N.A., 20 Civ. 11059, 2022 WL 671631, at *5 (S.D.N.Y. Mar. 7, 2022)
(finding negligence and GBL § 349 claims preempted under § 1681t(b)(1)(F), reasoning that “Plaintiff’s negligence
and § 349 claims are both preempted by FCRA because Plaintiff has not pled any facts to suggest that these claims
concern conduct different from that underlying his FCRA claim”); Munroe v. Nationstar Mortg. LLC, 207 F. Supp.
3d 232, 240 (E.D.N.Y. 2016) (finding GBL § 349 claim preempted under 15 U.S.C. § 1681t(b)(1)(F)); Reyes v.
Downey Sav. & Loan Ass’n, F.A., 541 F. Supp. 2d 1108, 1115 (C.D. Cal. 2008) (holding that claim under
California’s Unfair Competition Law predicated on violations of federal Truth in Lending Act were preempted);
Howard v. Blue Ridge Bank, 371 F. Supp. 2d 1139, 1143 (N.D. Cal. 2005) (holding that claim under “unlawful”
prong of California’s Unfair Competition Law based on underlying violation of the FCRA was preempted by 15
U.S.C. § 1681t(b)(1)(F)); Jaramillo v. Experian Info. Sols., Inc., 155 F. Supp. 2d 356, 361-62 (E.D. Pa. 2001)
(concluding that claim under the Pennsylvania Unfair Trade Practices and Consumer Protection Law based on
underlying violation of the FCRA was preempted by 15 U.S.C. § 1681t(b)(1)(F)).



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program detects and responds” to various types of activity that NYAG considers to constitute

Red Flags, such as wire requests occurring shortly after password changes. (Compl. ¶ 315

(emphasis added).) NYAG’s expansive theory greatly misconstrues the Red Flags Rule, which

requires only that a covered bank “develop and implement a written Identity Theft Prevention

Program (Program) that is designed to detect, prevent, and mitigate identity theft . . . .” 12 C.F.R.

§ 41.90(d) (emphasis added).

       On its face, the Complaint does not allege a violation of the Red Flags Rule. NYAG

nowhere alleges that Citibank failed to adopt a written policy, nor does it allege that there are any

particular faults with any policy’s terms. The Complaint even fails to allege the steps that

Citibank took to determine that the wires of Consumers A through J should go forward, making

it impossible to infer anything about Citibank’s written policies and why they are allegedly

inadequate. That, according to the Complaint, sophisticated scammers have in some instances

found ways to commit fraud simply does not make out a violation of the Red Flags Rule, much

less show “persistent” or “repeated” illegality under Executive Law § 63(12).

       Importantly, and contrary to NYAG’s suggestion, the Red Flags Rule does not obligate a

bank to freeze a transaction in the presence of a Red Flag. There is no requirement, for example,

to deny all wires on the same day as a password change, or where the wire amount involves most

or all of the funds available. Even assuming those situations count as Red Flags (which they may

not), Citibank’s obligation under the Red Flags Rule would be, at most, to have a policy

“designed” to identify when those things occur and to respond. Yet NYAG’s Complaint alleges

nothing about what Citibank’s identity theft policies are with respect to these or any other

purported Red Flags.




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         NYAG is not the first litigant to try (and fail) to impose strict liability under regulations

that require only the development, implementation and administration of policies and

procedures, similar to the Red Flags Rule. Courts have been careful to heed the difference.

         For example, in Smith v. Franklin/Templeton Distributors, Inc., No. C 09–4775 PJH,

2010 WL 4286326 (N.D. Cal. Oct. 22, 2010), an investor accused an investment fund of

improperly engaging unregistered broker-dealers, in violation of an SEC regulation requiring that

funds “[a]dopt and implement written policies and procedures reasonably designed to prevent

violation of the Federal Securities Laws.” 17 C.F.R. § 270.38a-1(a)(1); 2010 WL 4286326, at *3.

The court dismissed the claim, observing that the regulation “simply requires funds to adopt and

implement compliance programs that are reasonably designed to prevent violation of the federal

securities law,” and the investor had alleged nothing about the fund’s policies. Id.

         Similarly, in Mastin v. Ditech Financial, LLC, No. 3:17cv368, 2018 WL 524871 (E.D.

Va. Jan. 23, 2018), a couple accused their mortgage servicer of violating a regulation requiring it

to “maintain policies and procedures that are reasonably designed to” provide borrowers with

information and to investigate their complaints. Id. at *6; 12 C.F.R. § 1024.38(a). Dismissing the

claim, the court observed that the regulation “requires ‘only that a lender enact policies’ that

effectuate the goals outlined,” whereas the couple only alleged “isolated instances where [the]

procedures may have been deficient.” 2018 WL 524871, at *6 (citation omitted). 14



14
   See also, e.g., Mikel v. Carrington Mortg. Servs., LLC, A-16-CV-1107, 2019 WL 4060890, at *7 (W.D. Tex. June
25, 2019) (dismissing homeowner’s claim that bank violated requirement in 12 C.F.R. § 1024.40’s that lenders
“maintain policies and procedures that are reasonably designed to” make their personnel available to borrowers,
because plaintiffs had “come forward with no evidence regarding [the servicer’s] policies and procedures”); Hines v.
Regions Bank, No.: 5:16-cv-01996, 2018 WL 905364, at *5 (N.D. Ala. Feb. 15, 2018) (dismissing similar claim,
arising from servicer allegedly having “consistently ignored” plaintiff’s calls, because plaintiff did “not allege that
[bank] failed to implement policies reasonably designed to achieve [the regulation’s] objectives,” but had alleged
“only that [the bank] did not achieve those objectives in handling his mortgage delinquency”); accord Little Rock
School Dist. v. Armstrong, 359 F.3d 957, 965 (8th Cir. 2004) (explaining that consent decree provision requiring that
school district “implement” certain programs “does not mean that the programs must be perfectly efficacious”).



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       Here, because NYAG does not adequately allege that Citibank failed to adopt a policy as

required by the Red Flags Rule, NYAG has not pleaded any illegality (nor any “repeated”

illegality) under Executive Law § 63(12). The Sixth Cause of Action should be dismissed.

VI.    The Fifth Cause of Action Based on the SHIELD Act Should Be Dismissed.

       NYAG’s claim based on New York’s SHIELD Act is similarly meritless because (1) it

deals with an entirely different subject matter than the unauthorized wires at issue in this case,

(2) NYAG has not pleaded facts showing that Citibank failed to implement an anti-hacking

policy, and (3) in the alternative, to the extent the SHIELD Act is read as NYAG proposes to

cover a bank’s antifraud procedures, it is preempted by the FCRA.

       A.      New York Adopted the SHIELD Act to Combat Hacks and Data Breaches.

       The SHIELD Act (which stands for the Stop Hacks and Improve Electronic Data Security

Act) was enacted in 2019 to update New York’s prior data breach notification law so as to

“require reasonable data security protections” for covered businesses and to “update[] the

notification procedures” for “when there has been a breach of private information.” N.Y. Bill

Jacket, L. 2019, Ch. 117, at 7-8. The SHIELD Act is focused on preventing and remedying

hacking and data breaches, which is why covered entities must, for example, have a security

system that “assesses risks in network and software design” and “detects, prevents and responds

to attacks or system failures.” N.Y. Gen. Bus. L. § 899-bb(2)(b)(ii)(B). When those “attacks”

succeed, or there is a data breach, covered businesses are required to notify the affected

customers “in the most expedient time possible and without unreasonable delay.” Id. § 899-aa(2).

       NYAG has enforced these provisions against, for example, a law firm hit with a

ransomware attack that exposed extensive sensitive information concerning hospital clients (see

Ex. Q) and a dental insurer that fell for a “phishing” scam that gave the attackers access to

extensive data about its policyholders (such as Social Security numbers) (see Ex. R).


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       B.      The SHIELD Act’s Anti-Hacking and Customer Notice Provisions Are
               Inapplicable.

       Straying far beyond the text and purpose of the SHIELD Act, NYAG alleges that

Citibank has violated the Act by failing to stop wires in the face of “anomalous account activity,”

such as when wires are sent after password changes or enrollments in a wire transfer service, or

when wires are in amounts that would leave the account with a “near-zero” balance. (Compl.

¶ 305.) But the SHIELD Act does not actually address whether and under what circumstances

banks should approve wires. Rather, it is a law focused on hacking and data breaches, not wires

initiated by fraudsters who exploited data gained elsewhere, often directly from the customer.

Indeed, the Complaint nowhere alleges that fraudsters hacked into Citibank’s systems. For

example:

       •       Consumer C’s data was compromised because of a “security incident” at a
               “mortgage servicing firm” holding his loan. (Id. ¶ 154.)

       •       Consumers E and G were victims of a “SIM swap” scam, whereby the subscriber
               identity module (or, SIM) of their phones was reassigned to a fraudster’s mobile
               device. (Id. ¶¶ 169-70, 198-99, 206.)

       •       Consumers F and I provided fraudsters their personal data over the internet. (Id.
               ¶¶ 183-84, 234.)

       •       Consumers H and J provided fraudsters their personal data over the phone. (Id.
               ¶¶ 218-19, 249-50.)

       NYAG should not be permitted to stretch the SHIELD Act, beyond its stated purpose and

plain language, into a regulation-by-litigation of which wire requests should be accepted.

       C.      NYAG Fails to Allege Facts Showing a SHIELD Act Violation.

       In addition to the SHIELD Act not being implicated, there is yet a further, independent

ground for dismissal. Like the Red Flags Rule, the SHIELD Act is limited in scope, requiring

only that covered businesses “implement[] a data security program that includes” certain

“reasonable . . . safeguards.” N.Y. Gen. Bus. L. § 899-bb(2). The Complaint does not allege that


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Citibank failed to implement a program with reasonable safeguards or, in fact, anything about the

program that Citibank has implemented. As discussed above with respect to the Red Flags Rule

(see § V.C), merely alleging that scammers succeeded in certain instances does not show a

violation of the SHIELD Act, particularly absent factual allegations as to whether the scammers

were able to do so in a manner within the Act’s scope.

       D.      Alternatively, the FCRA Preempts NYAG’s SHIELD Act Claim.

       As discussed above, the FCRA broadly preempts any state-imposed “requirement or

prohibition . . . with respect to the conduct required by” the Red Flags Rule. 15 U.S.C.

§ 1681t(b)(5)(F). Here, if the SHIELD Act is read to extend to the conduct about which NYAG

complains, then it impermissibly overlaps with the “conduct” covered by the Red Flags Rule,

and, as in Willey and Elias, is preempted. The Complaint itself makes the overlap clear; NYAG

alleges that Citibank’s violations of the SHIELD Act arise from the same alleged failures to act

upon the same alleged anomalous activity as with the Red Flags Rule, such as approving wires

after password changes. (Compare Compl. ¶ 305 with id. ¶ 315.) Therefore, if the SHIELD Act

is as broad as NYAG suggests, the FCRA preempts NYAG’s state-law claim.

VII.   The Seventh and Eighth Causes of Action Should Both Be Dismissed Because
       NYAG Pleads No Facts Showing Fraud Under Executive Law Section 63(12) or
       Deception Under General Business Law Section 349.

       In a seeming afterthought, NYAG’s final two claims allege that Citibank handles online

fraud in a manner that is not just incorrect, but fraudulent under Executive Law § 63(12)

(Seventh Cause of Action) and deceptive under General Business Law § 349 (Eighth Cause of

Action). These claims are an overreach and wholly unsupported by the allegations.

       As discussed, to plead a claim under Executive Law § 63(12), NYAG must allege that

Citibank “engaged in ‘repeated’ fraudulent or illegal acts” or “engaged in ‘persistent fraud or

illegality’” in “carrying on, conducting, or transacting a business.” People of the State of New


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York v. Wu, No. 452904/2022, 2024 WL 776820, at *10 (N.Y. Sup. Ct. Feb. 26, 2024). The

elements of a claim under General Business Law § 349 are similar, but also include an injury

component: NYAG must allege that Citibank engaged in an “act or practice that is deceptive or

misleading in a material way and that the consumer has been injured by reason thereof.” People

ex rel. Spitzer v. Applied Card Sys., 834 N.Y.S.2d 558, 562 (3d Dep’t 2007) (alteration omitted).

       For purposes of General Business Law § 349, it is not enough to assert that an act or

practice is deceptive; the complaint must allege “what facts, if any, support” that conclusion.

Wiggins v. Unilever U.S., Inc., No. 21 Civ. 1964, 2023 WL 7005147, at *15 (S.D.N.Y. July 26,

2023). New York courts “routinely dismiss” Section 349 claims “where the allegations are

insufficiently specific to establish a deceptive practice.” Canestaro v. Raymour & Flanigan

Furniture Co., No. 2012-1639, 2013 WL 6985415, at *2 (N.Y. Sup. Ct. May 20, 2013).

       For both claims, NYAG sets forth an identical set of allegations that can be grouped into

three categories: (1) statements Citibank made concerning account security; (2) Citibank’s

requests for affidavits of fraud; and (3) Citibank’s supposed violations of customers’ “rights and

obligations.” (Compl. ¶¶ 319(a)-(h), 324(a)-(h).) The allegations in each category fall short.

       A.      Citibank’s Statements About Account Security Are Not Actionable.

       NYAG alleges that Citibank misled its customers by “creating the impression that online

and mobile banking were no less secure than in-person banking.” (Compl. ¶¶ 319(a), 324(a).)

There is no indication, however, as to how this “impression” was created, nor any allegation that

Citibank ever suggested the two were the same.

       The Complaint similarly accuses Citibank of falsely “having represented that bank

accounts were secure” (id. ¶¶ 319(c), 324(c)), by virtue of advertisements with generic

statements like, “As always at Citi, your security is important to us” and “We, at Citi, consider

your security to be the topmost priority.” (Id. ¶ 83.) But these statements amount to non-


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actionable “puffery” rather than factual claims that could deceive. See DH Cattle Holdings Co. v.

Smith, 607 N.Y.S.2d 227, 231 (1st Dep’t 1994) (statement about a “safe investment” was “mere

opinion and puffery”); Tristan v. Bank of Am., No. SACV2201183, 2023 WL 4417271, at *4-5

(C.D. Cal. June 28, 2023) (no fraud based on allegations that payment service Zelle was

represented to be “simple,” “fast,” and “safe”).

       Common sense and case law confirm that aspirational language like this is not actionable.

For example, a reference in a hospital system’s “Patients’ Bill of Rights” to safeguarding patient

data does “not constitute an unlimited guaranty that patient information could not be stolen or

that computerized data could not be hacked.” Abdale v. N. Shore-Long Is. Jewish Health Sys., 49

Misc. 3d 1027, 1032, 1039 (N.Y. Sup. Ct. 2015). Nor does a medical practice advertising “we

have the solution” amount to a “guarantee of results” or assurance that there are “no risks”

involved in surgery. Corcino v. Filstein, 820 N.Y.S.2d 220, 221 (1st Dep’t 2006).

       There is no allegation that any of Consumers A through J ever saw, much less were

harmed by, any alleged misrepresentations. Thus, NYAG’s claims about Citibank’s statements

concerning online security should be dismissed.

       B.      Citibank’s Requests for Fraud Affidavits Neither Deceived nor Injured Any
               Consumer.

       NYAG next complains that Citibank’s response to customer complaints was fraudulent

and deceptive because Citibank required customers to execute affidavits concerning the

circumstances of the fraud they were reporting. (Compl. ¶¶ 319(d)-(f), 324(d)-(f).) Apparently,

NYAG disagrees with the practice of requiring online fraud victims to set forth what happened in

affidavit form. But NYAG’s dislike of the practice does not make it deceptive or materially

misleading. In Cline v. TouchTunes Music Corporation, 211 F. Supp. 3d 628, 635-36 (S.D.N.Y.

2016), for example, users of an online music service complained that the service refused “to



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refund credits for unplayed songs.” Id. at 635-36. Judge Kaplan rejected the claim because the

users had “not alleged any facts to suggest that they reasonably expected such a refund,”

explaining that “[t]he mere fact that plaintiffs find this particular business practice distasteful

does not make it deceptive or misleading.” Id. So too here. 15

        NYAG also fails to allege (nor could it credibly allege) how any consumer was injured as

a result of the affidavit requirement. See Polzer v. TRW, Inc., 682 N.Y.S.2d 194, 195 (1st Dep’t

1998) (§ 349 does not compensate for “frustration,” and dismissing claim because plaintiff was

not damaged by allegedly deceptive conduct). To the extent NYAG complains that Citibank used

information in the affidavit to deny consumer’s refund requests, there is no plausible suggestion

of injury, since the information would have been gathered in one form or another to evaluate the

customer’s claim of fraud.

        C.       Citibank’s Alleged Violations of the “Rights and Obligations” of Customers
                 Are Neither Fraudulent Nor Deceptive.

        Finally, NYAG claims that Citibank violated the “rights and obligations” of customers by

“failing to immediately investigate” issues, by “having not immediately attempted to recall

funds,” and by telling customers “they acted improperly,” so as to “deprive[] them of their legal

rights to recover stolen funds.” (Compl. ¶¶ 319(b), (g), (h), 324(b), (g), (h).) These allegations do

not even purport to describe deceptive conduct.

        Nor does NYAG plead fraud by alleging consumers were misled into “believ[ing] that

their own actions were relevant” to determining whether they would be reimbursed (id.


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  See also, e.g., Varela v. Investors Ins. Holding Corp., 615 N.E.2d 218, 219 (N.Y. 1993) (holding that law firm’s
refusal to file a satisfaction of judgment until judgment debtor paid it a fee, while potentially improper, was not
deceptive under § 349); Leider v. Ralfe, 387 F. Supp. 2d 283, 296 (S.D.N.Y. 2005) (holding that alleged
“monopolistic practices” did not make out a § 349 claim because they were “public knowledge”); Sands v.
Ticketmaster-New York, Inc., No. 31614/92, 1994 WL 662956, at *2 (N.Y. Sup. Ct. June 23, 1994) (rejecting § 349
claim about “the manner in which Ticketmaster computes its service charges,” noting that because Ticketmaster
“fully discloses the service charges,” “the manner of their computation is not a deception that violates § 349”).



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¶ 319(h)), given that customers’ actions obviously are relevant to the analysis. If a fraudster was

able to satisfy the relevant security procedures for an outbound wire because the customer

provided the fraudster with the tools to do so, then that fact bears on Citibank’s reimbursement

obligations under N.Y. U.C.C. § 4-A-202(2).

       Even assuming the EFTA were to apply (which it does not), the circumstances of the

transfer would likewise be relevant. Under the EFTA, a transfer is not considered unauthorized if

“initiated by a person other than the consumer who was furnished with the card, code, or other

means of access to such consumer’s account by such consumer.” 15 U.S.C. § 1693a(12); see,

e.g., Merisier v. Bank of Am., N.A., 688 F.3d 1203, 1210 (11th Cir. 2012) (holding that bank was

not liable for withdrawals where account holder “furnished the means of access to her account

voluntarily, either as a willing participant in a fraudulent scheme or as one duped” by the

fraudsters). Citibank would need to know (among other things) whether or not that provision was

triggered. In alleging that customer’s “own actions” are categorically not relevant, NYAG

appears to be suggesting that Citibank is obligated to refund every claim of wire fraud, without

any investigation as to what happened. That simply is not the law.

       At bottom, disagreement over the law that should govern Citibank’s investigative process

does not mean Citibank’s actions can be shoehorned into claims of fraud or deception. NYAG’s

claim for fraud under Executive Law § 63(12) and its consumer deception claims under General

Business Law § 349 should be dismissed.

                                         CONCLUSION

       For the stated reasons, the Court should grant Citibank’s motion to dismiss in its entirety.




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Dated: April 2, 2024               Respectfully submitted,

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